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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

TINA MARIE EMERSON,
ADC #710724                                                                      PLAINTIFF

v.                                  4:11-cv-00220-JMM-JJV

STATE OF ARKANSAS,                                                            DEFENDANT

                                          JUDGMENT

       Consistent with the Order that was entered on this day, it is CONSIDERED, ORDERED, and

ADJUDGED that this case is DISMISSED WITH PREJUDICE. Dismissal of this action constitutes

a “strike” for the purposes of 28 U.S.C. § 1915(g).

       IT IS SO ORDERED this 12th day of April, 2011.


                                                      _________________________________
                                                      JAMES M. MOODY
                                                      UNITED STATES DISTRICT JUDGE




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